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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Non-Federal Securities Actions

                                                ORDER

            THIS CAUSE came before the Court on the parties’ Joint Status Report [ECF No. 322],

   filed on June 2, 2021. The parties met and conferred “regarding proposed procedural and other

   next steps the Court should take to ensure the just and efficient disposition of the non-federal

   securities cases in this multidistrict litigation[.]” (Joint Status Report 1 (alteration added)). The

   parties have jointly proposed deadlines for the filing of master complaints and a briefing schedule

   for Defendants’ anticipated motions to dismiss with respect to the Antitrust, Robinhood, and the

   Other Broker Tranches. (See generally id.). The Court has considered the parties’ positions and,

   being fully advised, directs the parties to adhere to the following schedule:

            1.    Plaintiffs shall file a single master complaint per Tranche on or before July 12,

                  2021.

            2.    Defendants in each Tranche shall file a joint motion to dismiss on or before August

                  16, 2021; the three motions shall be no more than 40 pages each.

            3.    Plaintiffs’ responses in opposition to Defendants’ joint motions to dismiss shall be

                  filed by September 7, 2021 and shall be no more than 40 pages each.

            4.    Defendants’ replies to Plaintiffs’ responses shall be filed by September 21, 2021

                  and shall be no more than 20 pages each.
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         5.      These deadlines do not apply to the federal securities actions. The Court will issue

                 a separate scheduling order to govern the master complaint and briefing schedule

                 for the federal securities actions following appointment of Lead Plaintiff(s) and

                 Lead Counsel in accordance with the Private Securities Litigation Reform Act of

                 1995, 15 U.S.C. § 78u-4(a)(3)(B).

         6.      The parties have previewed their arguments regarding a stay of discovery. Records

                 already produced by Defendants to Congress and other government entities shall

                 be produced to Plaintiffs upon request. These materials shall not be shared with or

                 provided to counsel for Plaintiffs in the Federal Securities Tranche. All other

                 discovery is stayed pending resolution of the forthcoming motions to dismiss.

         7.      Proposed case management orders concerning (1) privileged material, (2) the

                 production of electronically stored information, and (3) a protective order

                 governing confidential information and materials shall be filed by July 9, 2021.

         DONE AND ORDERED in Miami, Florida, this 3rd day of June, 2021.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

   cc:   counsel of record;
         Pro Se Plaintiffs




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